Case 2:10-cv-00258-JRG Document 781-1 Filed 05/08/19 Page 1 of 3 PageID #: 22184




                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

  RMAIL LIMITED, et al.,

                 Plaintiffs,
  v.                                                     Civil Action No. 2:10-CV-258-JRG
                                                                     (Lead Case)

  RIGHTSIGNATURE, LLC, FARMERS                                   CONSOLIDATED
  GROUP, INC., FARMERS INSURANCE
  COMPANY, INC.,                                          Civil Action No. 2:11-cv-300-JRG

                 Defendants.                                   FILED UNDER SEAL


        DECLARATION OF JACKOB BEN-EZRA IN SUPPORT OF DEFENDANT
        SHAREFILE, LLC’S F/K/A RIGHTSIGNATURE, LLC’S OPPOSITION IN
           RESPONSE TO PLAINTIFFS’ MOTION TO STRIKE PORTIONS
                  OF THE EXPERT REPORT OF NISHA MODY

        I, Jackob Ben-Ezra, hereby declare as follows:

        1.      I am an attorney at Fish & Richardson P.C. and counsel of record in this action for

 Defendant ShareFile, LLC f/k/a RightSignature, LLC. I am a member of the bar for the State of

 Texas. I have personal knowledge of the matters stated in this declaration and would testify

 truthfully to them if called upon to do so.

        2.      I submit this declaration, along with the exhibits attached hereto, in support of

 RightSignature’s Opposition in Response to Plaintiffs’ Motion to Strike Portions of the Expert

 Report of Nisha Mody.

        3.      Attached hereto as Exhibit 1 is a true and correct copy of excerpts of the Rebuttal

 Expert Report of Edward Tittel served April 15, 2019.

        4.      Attached hereto as Exhibit 2 is a true and correct copy of excerpts of the March

 21, 2013 Deposition Transcript of Dr. Terrance Tomkow.
Case 2:10-cv-00258-JRG Document 781-1 Filed 05/08/19 Page 2 of 3 PageID #: 22185




        5.     Attached hereto as Exhibit 3 is a true and correct copy of RPost’s Initial

 Disclosures served June 1, 2012.

        6.     Attached hereto as Exhibit 4 is a true and correct copy of excerpts of the Rebuttal

 Expert Report of Nisha Mody served April 15, 2019.

        I declare under penalty of perjury that the foregoing is true and correct.

  Executed on May 6, 2019                             Respectfully submitted,

                                                   /s/ Jackob Ben-Ezra
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                                                  2
Case 2:10-cv-00258-JRG Document 781-1 Filed 05/08/19 Page 3 of 3 PageID #: 22186




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                                                    COUNSEL FOR DEFENDANT SHAREFILE,
                                                    LLC F/K/A RIGHT SIGNATURE, LLC


                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing

 document has been served on May 6, 2019 to all counsel of record who are deemed to have

 consented to electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).


                                               /s/ Jackob Ben-Ezra




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